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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

 JANSSEN BIOTECH, INC.

                                Plaintiffs,

                        v.                          Civil Action No. l:17-cv-11008-MLW

 CELLTRION HEALTHCARE CO., LTD.,                    PUBLIC
 CELLTRION, INC., and                               REDACTED VERSION
 HOSPIRA, INC.

                                Defendants.

     DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF MOTION IN LIMINE
             NO. 9: TO PRECLUDE EVIDENCE AND ARGUMENT FROM
     JANSSEN’S EXPERTS BASED ON SPECULATION OUTSIDE THEIR EXPERTISE

I.      INTRODUCTION

        The Court should exclude non-infringing alternative opinions from Jansen’s experts related

to alleged delays attributable to: (a) lawyers, including claim analysis and prior art searching, and

(b) contract negotiations. Any such opinions are well outside the purported scientific expertise of

Janssen’s expert witnesses. The Court should also exclude opinions as to any specific delay, as

such opinions would be contaminated by speculation as to lawyers and contract negotiations.

        Janssen’s experts have strayed far from their purported expertise when offering opinions

on the issue of non-infringing alternatives. For example, Janssen’s scientific expert, Dr. Butler,

opines that alternative media were not “available” because Celltrion would have allegedly incurred

delay in switching to those alternatives. But Dr. Butler’s proffered delay is based on speculation

regarding time spent on analysis by lawyers, by parties negotiating a contract, or by a prior art

search firm in searching for alternative prior art media. These opinions are not relevant to non-

infringing alternatives analysis and do not bear any relation to Dr. Butler’s scientific expertise in

cell culture media. Indeed, he admits he                                             on these issues.
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Ex. 1 (Butler 4/17/18 Dep. Tr.) at 212:7-9. Dr. Butler’s proffered testimony would do nothing

more than “muddle the jury’s fact-finding with unreliability and speculation.” Power Integrations,

Inc. v. Fairchild Semiconductor Int’l, Inc., 711 F.3d 1348, 1374 (Fed. Cir. 2013). Such speculative

expert testimony would mislead the jury into giving expert weight to un-expert opinions. Fed. R.

Evid. 403. Janssen’s speculative expert testimony should be excluded.

II.    BACKGROUND

       To obtain lost profits under Panduit, as Janssen attempts, it “must prove… [the] absence

of acceptable noninfringing alternatives.” Panduit Corp. v. Stahlin Bros. Fibre Works, Inc., 575

F. 2d 1152, 1156 (6th Cir. 1978); Presidio Components, Inc. v. Am. Tech. Ceramics Corp., 875

F.3d 1369, 1380 (Fed. Cir. 2017) (the “Panduit test requires the patentee to show… an absence of

acceptable non-infringing substitutes.”). “To prove the absence of acceptable, non-infringing

alternatives, the patentee may prove either that the potential alternative was not acceptable to

potential customers or was not available at the time.” Presidio, 875 F.3d at 1380.

       Janssen’s experts do not dispute that other cell culture media could have been used. Rather,

they assert they are not “available” due to the purported delay Celltrion would have incurred

integrating them into its production process. For example, Dr. Butler admitted that Celltrion

                                                                                       Ex. 1 (Butler

4/17/18 Dep. Tr.) at 200:18-201:7. Janssen’s lost profits case is thus premised on a “gotcha”

argument: because Celltrion had started work with the accused media before the date of alleged

first infringement, Celltrion would have had to repeat the work done up until the date of first

infringement in order to substitute the non-infringing alternatives for the accused media. For

example, Dr. Butler opines that



                                      See, e.g., Ex. 2 (Butler Damages Op.) at ¶ 18.


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       But Janssen’s experts must speculate to support this opinion. For example, Dr. Butler

attempted to argue during his deposition that one non-infringing alternative (swapping

monosodium phosphate with disodium phosphate) would experience delay due to “lawyers”:




Ex. 1 (Butler 4/17/18 Dep. Tr.) at 134:7-19 (objection omitted). But, Dr. Butler (a scientist) has

no expertise in how long “lawyer” delay would take:




Ex. 1 (Butler 4/17/18 Dep. Tr.) at 138:6-16.

       With respect to another alternative (modifying the accused media to practice the prior art),

Dr. Butler speculates that it would have taken                                   to implement the

alternative based, in part, on the time it would take to

                                                                  —issues far outside Dr. Butler’s

expertise or competence. Ex. 3 (Butler Reply) ¶ 105.

       As to another alternative, having the accused media made outside the United States by a

contract manufacturer, Dr. Butler speculates there would have been contract negotiation delay,

even though he admittedly                                            on this subject:




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Ex. 1 (Butler 4/17/18 Dep. Tr.) at 210:5-14, 212:4-9; see also, e.g., Ex. 3 (Butler Reply) ¶ 89



                    ¶ 98



III.   ARGUMENT

       Janssen’s experts should not be permitted to offer speculative opinions bearing no relation

to their purported expertise. Federal Rule of Evidence 403 permits the Court to exclude evidence

“if its probative value is substantially outweighed by a danger of… misleading the jury [or] wasting

time.” Opinions falling outside the expert’s purported expertise will likely mislead the jury into

giving special credence to unfounded speculation as “expert.” Fed. R. Evid. 403. Similarly, un-

expert testimony from an expert is unhelpful to the jury, and a waste of theirs and the Court’s time.

Id.

       Exclusion of such speculative expert testimony is exactly what the Court’s gatekeeping

role is intended to prevent. “District court judges perform a gatekeeping role for expert testimony.

They must ensure that expert testimony is reliable and that the testimony relates to scientific,

technical or other specialized knowledge, which does not include unsubstantiated speculation and

subjective beliefs.” Sport Dimension, Inc. v. Coleman Co., 820 F.3d 1316, 1323 (Fed. Cir. 2016)

(affirming exclusion of expert) (internal quotations omitted); United States v. Organon USA Inc.,

2015 WL 10002943, *2-5 (D. Mass. Aug. 17, 2015) (excluding expert speculation, noting “[n]o

amount of expertise can turn speculative or untestable theories into admissible expert testimony….

By merely prefacing each of his opinions with a reference to his ‘experience,’ he asks the court



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(and, presumably, the jury) to ‘take his word for it,’ which the rules of evidence do not allow him

to do.” (internal citations omitted)).

        Not only are Janssen’s speculative delays unsupported and unhelpful to jury, and therefore

properly excluded under Rule 403, but Janssen has failed to provide any legal authority that

speculation about “delay caused by lawyers,” or contract negotiation delay, or prior art search

delay is relevant to the non-infringing alternatives analysis under Federal Rule of Evidence 402.

Fed. R. Evid. 402 (“Irrelevant evidence is not admissible.”). Instead, the Federal Circuit has

guided courts to focus on the accused infringer’s technical ability and incentives in assessing the

availability of alternatives. Grain Processing Corp. v. Am. Maize-Prods. Co., 185 F.3d 1341, 1354

(Fed. Cir. 1999) (District Court did not clearly err where the accused infringer had the “necessary

chemical materials, the equipment, the know-how and experience, and the economic incentive” to

use the alternative).

        This Court should preclude Janssen’s experts from speculating on the availability or

acceptability of Defendants’ non-infringing alternatives, including excluding Dr. Butler from

opining on delays for which he admits to having no expertise, i.e., based on lawyer analysis of

non-infringement, prior art searches, and contract negotiations. The Court should also exclude Dr.

Butler from opining that the corresponding non-infringing alternatives would incur any specific

delay, because his opinion was premised on and incorporates the same speculative delays.

IV.     CONCLUSION

        For the foregoing reasons, Defendants respectfully request that the Court grant Defendants’

motion in limine to exclude non-infringing alternative opinions from Jansen’s experts related to

alleged delays attributable to: (a) lawyers, including claim analysis and prior art searching, and (b)

contract negotiations. Any such opinions are well outside the purported scientific expertise of




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Janssen’s expert witnesses. The Court should also exclude opinions as to any specific delay, as

such opinions would be contaminated by speculation as to lawyers and contract negotiations.




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Dated: May 18, 2018                 Respectfully submitted,

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                                    and Hospira, Inc.

                                    By their attorneys,

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                                 CERTIFICATE OF SERVICE

        I, Andrea L. Martin, hereby certify that this document filed through the ECF system will

be sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) and paper copies will be sent to those indicated as non-registered participants on May 18,

2018.

                                               /s/Andrea L. Martin, Esq.
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